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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Samantha Rose JaQgula,                )       Case No. 1:17-cr-164
                                      )
               Defendant.             )


       Defendant is currently in custody awaiting trial. She is being housed in the McLean County

Detention Center in Washburn, North Dakota. On September 8, 2017, she filed a “Motion to

Change Conditions of Bound and Release Client to Sharehouse, Fargo, ND.” She advises that she

been deemed eligible for admission to Share House, and drug and alcohol rehabilitation center

located in Fargo, North Dakota. She requests that she be released to her attorney on September 12,

2017, for transport to Share House.

       The court GRANTS defendant’s motion (Doc. No. ). Defendant shall be released to

herattorney no earlier than 6:00 a.m. on September 12, 2017, for transport to Share House. Upon

herarrival at Share House, defendant shall be released subject to the following conditions:

       (1)     Defendant shall not violate federal, state, tribal, or local law while on release.

       (2)     Defendant shall appear in court as required and surrender for any sentence imposed.

       (3)     Defendant shall report to the Pretrial Services Office at such times and in such

               manner as designated by the supervising officer.

       (4)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic

               drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,


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       unless prescribed by a licensed medical practitioner, and any use of inhalants.

       Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

       Services Officer to verify compliance. Failure or refusal to submit to testing or

       tampering with the collection progress or specimen may be considered the same as

       a positive test.

(5)    Defendant shall submit her person, residence, vehicle, and/or possessions to a search

       conducted by the Pretrial Services Officer at the request the request of the Pretrial

       Services Officer. Failure to submit to a search may be grounds for revocation of

       pretrial release. Defendant shall notify any other residents that the premises may be

       subject to searches pursuant to this condition.

(6)    Defendant shall not possess a firearm, destructive device, or other dangerous

       weapon.

(7)    Defendant shall reside at Share House, comply with all of its rules and regulations,

       and fully participate in its treatment program. Upon her arrival at and admission to

       Share House, defendant shall immediately contact Pretrial Services Officer Heather

       Achetenberg-Heck at (701) 297-7218.

(8)    Defendant shall sign all releases of information so that the Pretrial Services Officer

       can monitor her progress and participation in Share House’s treatment program.

(9)    At least four days before completion of, or upon termination from, Share House’s

       treatment program, defendant shall contact the Pretrial Services Officer to discuss

       her living arrangements.

(10)   Upon her discharge from Share House, defendant shall reside at a residence approved


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       by the Pretrial Services Officer and not change this residence without permission

       from the Pretrial Services Officer. If the Pretrial Services Officer determines that

       defendant is in need of a placement in a residential facility, defendant shall

       voluntarily report to the designated facility, comply with the facility’s rules and

       regulations, and participate in all recommended programming. If the Pretrial

       Services Officer does not approve of defendant’s proposed residence and determines

       either that the residential facility lacks space for defendant or that a placement of

       defendant at a residential facility is inappropriate, defendant shall report to the

       United States Marshal’s office in Fargo with the understanding that she shall be

       detained pending further order of the court.

IT IS SO ORDERED.

Dated this 8th day of September, 2017.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court




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